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Case 1:19-cr-20387-UU Document 13 Entered on FLSD Docket 09/10/2019 Page 1 of 11

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           Case 2:19-mj-00603-VCF
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                                                     Docket 09/10/2019
                                                              Page 1 of 5Page 2 of 11
Case 1:19-cr-20387-UU
           Case 2:19-mj-00603-VCF
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                                                     Docket 09/10/2019
                                                              Page 2 of 5Page 3 of 11
Case 1:19-cr-20387-UU
           Case 2:19-mj-00603-VCF
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                                                     Docket 09/10/2019
                                                              Page 3 of 5Page 4 of 11
Case 1:19-cr-20387-UU
           Case 2:19-mj-00603-VCF
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                                                     Docket 09/10/2019
                                                              Page 4 of 5Page 5 of 11
Case 1:19-cr-20387-UU
           Case 2:19-mj-00603-VCF
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                                                     Docket 09/10/2019
                                                              Page 5 of 5Page 6 of 11
Case 1:19-cr-20387-UU
           Case 2:19-mj-00603-VCF
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                                                     Docket 09/10/2019
                                                              Page 1 of 1Page 7 of 11
Case 1:19-cr-20387-UU
           Case 2:19-mj-00603-VCF
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                                                     Docket 09/10/2019
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              Case 1:19-cr-20387-UU Document 13 Entered on FLSD Docket 09/10/2019 Page 9 of 11
                                                                                                                 CLOSED

                                        United States District Court
                                       District of Nevada (Las Vegas)
                             CRIMINAL DOCKET FOR CASE #: 2:19-mj-00603-VCF-1


         Case title: USA v. Wheelock                                      Date Filed: 08/14/2019
         Other court case number: 19-20387 Southern District of Florida   Date Terminated: 08/28/2019


         Assigned to: Magistrate Judge Cam
         Ferenbach

         Defendant (1)
         Alan Francisco Wheelock                          represented by Kathryn Newman
         TERMINATED: 08/28/2019                                          Federal Public Defender
                                                                         411 E. Bonneville, Ave., Ste. 250
                                                                         Las Vegas, NV 89101
                                                                         702-388-6577
                                                                         Email: Kathryn_Newman@fd.org
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED
                                                                         Designation: FPD

         Pending Counts                                                    Disposition
         None

         Highest Offense Level (Opening)
         None

         Terminated Counts                                                 Disposition
         None

         Highest Offense Level (Terminated)
         None

         Complaints                                                        Disposition
                                                                           Transmitted on 8/28/19 to the Southern
         Rule 5 documents
                                                                           District of Florida




1 of 3                                                                                                           9/10/2019, 12:20 PM
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             Case 1:19-cr-20387-UU Document 13 Entered on FLSD Docket 09/10/2019 Page 10 of 11

         Plaintiff
         USA                                                   represented by Simon Fanzong Kung
                                                                              Office of the United States Attorney
                                                                              US Attorney's Office
                                                                              District of Nevada
                                                                              501 Las Vegas Blvd. S, Ste.1100
                                                                              Las Vegas, NV 89101
                                                                              702-388-6336
                                                                              Fax: 702-388-6296
                                                                              Email: simon.kung@usdoj.gov
                                                                              LEAD ATTORNEY
                                                                              ATTORNEY TO BE NOTICED
                                                                              Designation: USA


          Date Filed         # Docket Text
          08/14/2019         1 Rule 5(c)(3) Documents Received as to Alan Francisco Wheelock. Documents received
                               from Southern District of Florida include Indictment. (ADR) (Entered: 08/14/2019)
          08/14/2019         2 MINUTES OF PROCEEDINGS - Initial Appearance in Rule 5(c)(3) Proceeding as to
                               Alan Francisco Wheelock held on 8/14/2019 before Magistrate Judge Cam Ferenbach.
                               Crtrm Administrator: J. Ries; AUSA: Simon Kung; Def Counsel: Kathryn Newman;
                               Recording start and end times: 3:36 - 3:47; Courtroom: 3D; Defendant is present in
                               custody with leg restraints. The Federal Public Defenders Office is appointed as defense
                               counsel for this proceeding only. Waiver of Identity Hearing filed. ORDERED defendant
                               identified as named defendant in indictment and is held to answer in the Southern
                               District of Florida. Government does not seek detention and the defendant is placed on a
                               personal recognizance bond. Next appearance date in originating district is on September
                               3, 2019, at 1:30 p.m... Defendant is released on bond. Rule 5 deadline set for
                               8/28/2019.(no image attached) (Copies have been distributed pursuant to the NEF -
                               JAR) (Entered: 08/16/2019)
          08/14/2019         3 WAIVER of Rule 5(c)(3) Hearings by Alan Francisco Wheelock. (ADR) (Entered:
                               08/16/2019)
          08/14/2019         4 PR BOND Entered as to Alan Francisco Wheelock. (ADR) (Entered: 08/16/2019)
          08/14/2019         5 NOTICE of Assertion of Right to be Present in Court Unshackled and Preservation of
                               Appellate Rights as to Alan Francisco Wheelock. (ADR) (Entered: 08/16/2019)
          08/14/2019         6 NOTICE of Assertion of Right to Counsel, the Right to Remain Silent, and Request to
                               Have Counsel Present During Questioning as to Alan Francisco Wheelock. (ADR)
                               (Entered: 08/16/2019)
          08/14/2019         7 ORDER Requiring a Defendant to Appear in the District Where Charges are Pending and
                               Transferring Bail. The time and place to appear in court are: Southern District of Florida,
                               9/03/19 at 1:30 p.m.
                               Signed by Magistrate Judge Cam Ferenbach on 8/14/19. (Copies have been distributed
                               pursuant to the NEF - ADR) (Entered: 08/16/2019)



2 of 3                                                                                                                9/10/2019, 12:20 PM
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             Case 1:19-cr-20387-UU Document 13 Entered on FLSD Docket 09/10/2019 Page 11 of 11

          08/28/2019         8 TRANSMITTAL to the Southern District of Floridain Rule 5c proceedings regarding
                               Defendant Alan Francisco Wheelock. Sent electronically via email. (ADR) (Entered:
                               08/28/2019)



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                                      Description:   Docket Report
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                                      Billable
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3 of 3                                                                                                                    9/10/2019, 12:20 PM
